                    Case 22-09817                   Doc 1             Filed 08/29/22 Entered 08/29/22 15:16:36                               Desc Main
                                                                        Document Page 1 of 24
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

               Northern District of Illinois

                                                    Chapter you are filing under:
                                                    ❑
 Case number (If known):

                                                    ✔
                                                    ❑
                                                            Chapter 7

                                                    ❑
                                                            Chapter 11

                                                    ❑                                                                                      ❑ Check if this is an
                                                            Chapter 12
                                                            Chapter 13
                                                                                                                                              amended filing



Official Form 101
Volunt ar y Petition for I ndividuals Filing for Bankrupt cy                                                                                                       06/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Pa rt 1 : I de nt ify Yourse lf

                                               About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your          Christy
       government-issued picture               First name                                                      First name
       identification (for example, your
                                               A.
       driver’s license or passport).
                                               Middle name                                                     Middle name
       Bring your picture identification       Thomas
       to your meeting with the trustee.       Last name                                                       Last name


                                               Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
                                               Christy
       used in the last 8 years
                                               First name                                                      First name
       Include your married or maiden          Ann
       names.                                  Middle name                                                     Middle name
                                               Thomas
                                               Last name                                                       Last name



                                               Christy
                                               First name                                                      First name


                                               Middle name                                                     Middle name
                                               Thomas
                                               Last name                                                       Last name




  3.   Only the last 4 digits of your
                                               xxx - xx - 9           3    8   8                               xxx - xx -
       Social Security number or
       federal Individual Taxpayer             OR                                                              OR
       Identification number                   9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                              Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
                    Case 22-09817                 Doc 1          Filed 08/29/22 Entered 08/29/22 15:16:36                                  Desc Main
                                                                   Document Page 2 of 24
 Debtor 1            Christy             A.                            Thomas                                           Case number (if known)
                     First Name          Middle Name                   Last Name


                                          About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification            ❑ I have not used any business names or EINs.                       ❑ I have not used any business names or EINs.
       Numbers (EIN) you have used
       in the last 8 years                DGT Designers & Builders
                                          Business name                                                       Business name
       Include trade names and doing
       business as names
                                          Business name                                                       Business name

                                              3     6   -    4    2     6    9     -    4      1    8                      -
                                          EIN                                                                 EIN


                                                        -                                                                  -
                                          EIN                                                                 EIN




                                                                                                              If Debtor 2 lives at a different address:
  5.   Where you live
                                          61 George St
                                          Number              Street                                          Number           Street




                                          Grayslake, IL 60030-1536
                                          City                                         State       ZIP Code   City                                  State      ZIP Code

                                          Lake
                                          County                                                              County

                                          If your mailing address is different from the one above,            If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to       it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                        at this mailing address.


                                          Number              Street                                          Number           Street



                                          P.O. Box                                                            P.O. Box



                                          City                                         State       ZIP Code   City                                  State      ZIP Code




  6.   Why you are choosing this          Check one:                                                          Check one:

                                          ✔
                                          ❑                                                                   ❑
       district to file for bankruptcy
                                                  Over the last 180 days before filing this petition, I              Over the last 180 days before filing this petition, I
                                                  have lived in this district longer than in any other               have lived in this district longer than in any other
                                                  district.                                                          district.

                                          ❑       I have another reason. Explain.                             ❑      I have another reason. Explain.
                                                  (See 28 U.S.C. § 1408)                                             (See 28 U.S.C. § 1408)




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
                    Case 22-09817           Doc 1            Filed 08/29/22 Entered 08/29/22 15:16:36                             Desc Main
                                                               Document Page 3 of 24
 Debtor 1           Christy            A.                       Thomas                                         Case number (if known)
                    First Name         Middle Name              Last Name


 Pa rt 2 : T e ll t he Court About Your Ba nk rupt c y Ca se


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ❑
                                       ✔
                                       ❑
                                             Chapter 7

                                       ❑
                                             Chapter 11

                                       ❑
                                             Chapter 12
                                             Chapter 13



  8.   How you will pay the fee        ✔
                                       ❑    I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                            details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                            check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                            a credit card or check with a pre-printed address.

                                       ❑    I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                            to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑    I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                            judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                            official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                            choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                            103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ❑ No.
       within the last 8 years?
                                       ✔ Yes.
                                       ❑          District Northern District of Illinois        When 07/08/2019              Case number 19-19137
                                                                                                     MM / DD / YYYY
                                                  District                                      When                         Case number
                                                                                                       MM / DD / YYYY
                                                  District                                      When                         Case number
                                                                                                       MM / DD / YYYY



  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes.
       pending or being filed by a
       spouse who is not filing this              Debtor                                                                 Relationship to you
       case with you, or by a
       business partner, or by an                 District                                  When                         Case number, if known
       affiliate?                                                                                  MM / DD / YYYY


                                                  Debtor                                                                 Relationship to you

                                                  District                                  When                         Case number, if known
                                                                                                   MM / DD / YYYY




  11. Do you rent your residence?      ✔
                                       ❑    No.    Go to line 12.

                                       ❑    Yes. Has your landlord obtained an eviction judgment against you?

                                                   ❑    No. Go to line 12.

                                                   ❑    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                        as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 3
                    Case 22-09817               Doc 1          Filed 08/29/22 Entered 08/29/22 15:16:36                               Desc Main
                                                                 Document Page 4 of 24
 Debtor 1           Christy                A.                        Thomas                                         Case number (if known)
                    First Name             Middle Name               Last Name


 Pa rt 3 : Re port About Any Busine sse s You Ow n a s a Sole Proprie t or


  12. Are you a sole proprietor of         ✔
                                           ❑    No. Go to Part 4.

                                           ❑
      any full- or part-time
      business?                                 Yes. Name and location of business

      A sole proprietorship is a
      business you operate as an                Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.         Number          Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.                                 City                                                 State           ZIP Code

                                                Check the appropriate box to describe your business:

                                                ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                ❑      None of the above



  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ❑    No.        I am not filing under Chapter 11.
      debtor, see 11 U.S.C. §
      101(51D).
                                           ✔
                                           ❑    No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                           Bankruptcy Code.

                                           ❑    Yes.       I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                           Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑    Yes.       I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                           Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
                    Case 22-09817            Doc 1        Filed 08/29/22 Entered 08/29/22 15:16:36                            Desc Main
                                                            Document Page 5 of 24
 Debtor 1           Christy             A.                      Thomas                                       Case number (if known)
                    First Name          Middle Name             Last Name


 Pa rt 4 : Re port if You Ow n or H a ve Any H a za rdous Prope rt y or Any Prope rt y T ha t N e e ds I m m e dia t e At t e nt ion


  14. Do you own or have any            ✔
                                        ❑    No.

                                        ❑
      property that poses or is
      alleged to pose a threat of            Yes.   What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                    If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                    Where is the property?
                                                                              Number        Street




                                                                              City                                          State      ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                    page 5
                    Case 22-09817            Doc 1          Filed 08/29/22 Entered 08/29/22 15:16:36                                        Desc Main
                                                              Document Page 6 of 24
 Debtor 1           Christy             A.                         Thomas                                              Case number (if known)
                    First Name          Middle Name                Last Name


 Pa rt 5 : Ex pla in Your Effort s t o Re c e ive a Brie fing About Cre dit Counse ling


  15. Tell the court whether you        About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                                   You must check one:
      receive a briefing about credit
      counseling before you file for
                                        ✔
                                        ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      check one of the following             petition, and I received a certificate of completion.                 petition, and I received a certificate of completion.
      choices. If you cannot do so,          Attach a copy of the certificate and the payment plan, if any,        Attach a copy of the certificate and the payment plan, if any,
      you are not eligible to file.          that you developed with the agency.                                   that you developed with the agency.

      If you file anyway, the court     ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      can dismiss your case, you will        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      lose whatever filing fee you           petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      paid, and your creditors can           Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      begin collection activities            MUST file a copy of the certificate and payment plan, if any.         MUST file a copy of the certificate and payment plan, if any.

                                        ❑                                                                     ❑
      again.
                                             I certify that I asked for credit counseling services from an         I certify that I asked for credit counseling services from an
                                             approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                             during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                             requirement.                                                          requirement.
                                             To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                             attach a separate sheet explaining what efforts you made to           attach a separate sheet explaining what efforts you made to
                                             obtain the briefing, why you were unable to obtain it before          obtain the briefing, why you were unable to obtain it before
                                             you filed for bankruptcy, and what exigent circumstances              you filed for bankruptcy, and what exigent circumstances
                                             required you to file this case.                                       required you to file this case.

                                             Your case may be dismissed if the court is dissatisfied with          Your case may be dismissed if the court is dissatisfied with
                                             your reasons for not receiving a briefing before you filed for        your reasons for not receiving a briefing before you filed for
                                             bankruptcy.                                                           bankruptcy.

                                             If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                             receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency, along           You must file a certificate from the approved agency, along
                                             with a copy of the payment plan you developed, if any. If you         with a copy of the payment plan you developed, if any. If you
                                             do not do so, your case may be dismissed.                             do not do so, your case may be dismissed.

                                             Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                             cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                        ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                             counseling because of:                                                counseling because of:
                                             ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                              deficiency that makes me incapable of                                 deficiency that makes me incapable of
                                                              realizing or making rational decisions                                realizing or making rational decisions
                                                              about finances.                                                       about finances.
                                             ❑    Disability.   My physical disability causes me to be             ❑    Disability.   My physical disability causes me to be
                                                                unable to participate in a briefing in                                unable to participate in a briefing in
                                                                person, by phone, or through the                                      person, by phone, or through the
                                                                internet, even after I reasonably tried to                            internet, even after I reasonably tried to
                                                                do so.                                                                do so.
                                             ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                               a military combat zone.                                               a military combat zone.

                                             If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                             about credit counseling, you must file a motion for waiver of         about credit counseling, you must file a motion for waiver of
                                             credit counseling with the court.                                     credit counseling with the court.




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                                               page 6
                    Case 22-09817                Doc 1        Filed 08/29/22 Entered 08/29/22 15:16:36                                Desc Main
                                                                Document Page 7 of 24
 Debtor 1           Christy               A.                       Thomas                                           Case number (if known)
                    First Name            Middle Name              Last Name


 Pa rt 6 : Answ e r T he se Que st ions for Re port ing Purpose s


  16. What kind of debts do you                16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as

                                                    ✔
      have?                                         “incurred by an individual primarily for a personal, family, or household purpose.”
                                                    ❑
                                                    ❑
                                                         No. Go to line 16b.
                                                         Yes. Go to line 17.

                                               16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                    for a business or investment or through the operation of the business or investment.
                                                    ❑
                                                    ✔
                                                    ❑
                                                         No. Go to line 16c.
                                                         Yes. Go to line 17.

                                               16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?          ✔
                                               ❑    No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any           ❑    Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
                                                         administrative expenses are paid that funds will be available to distribute to unsecured creditors?
                                                           ❑
      exempt property is excluded
      and administrative expenses are
                                                           ❑
                                                                No
      paid that funds will be available                         Yes
      for distribution to unsecured
      creditors?

                                                ✔
                                                ❑               ❑                         ❑    25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
                                                ❑               ❑
  18. How many creditors do you                     1-49              1,000-5,000
      estimate that you owe?
                                                ❑               ❑
                                                    50-99             5,001-10,000

                                                ❑
                                                    100-199           10,001-25,000
                                                    200-999


                                                ❑                                  ✔
                                                                                   ❑                                          ❑
                                                ❑                                  ❑                                          ❑
  19. How much do you estimate your                 $0-$50,000                          $1,000,001-$10 million                      $500,000,001-$1 billion
      assets to be worth?
                                                ❑                                  ❑                                          ❑
                                                    $50,001-$100,000                    $10,000,001-$50 million                     $1,000,000,001-$10 billion

                                                ❑                                  ❑                                          ❑
                                                    $100,001-$500,000                   $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                                    $500,001-$1 million                 $100,000,001-$500 million                   More than $50 billion


                                                ❑                                  ❑                                          ❑
                                                ❑                                  ❑                                          ❑
  20. How much do you estimate your                 $0-$50,000                          $1,000,001-$10 million                      $500,000,001-$1 billion
      liabilities to be?
                                                ❑                                  ❑                                          ❑
                                                    $50,001-$100,000                    $10,000,001-$50 million                     $1,000,000,001-$10 billion

                                                ✔
                                                ❑                                  ❑                                          ❑
                                                    $100,001-$500,000                   $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                                    $500,001-$1 million                 $100,000,001-$500 million                   More than $50 billion

 Pa rt 7 : Sign Be low


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.



                                   ✘
                                       Christy A. Thomas, Debtor 1
                                       Executed on 08/29/2022
                                                        MM/ DD/ YYYY




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
                    Case 22-09817                  Doc 1        Filed 08/29/22 Entered 08/29/22 15:16:36                                 Desc Main
                                                                  Document Page 8 of 24
 Debtor 1           Christy                 A.                        Thomas                                          Case number (if known)
                    First Name              Middle Name               Last Name



   For your attorney, if you are                 I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                            proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                                 each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an              11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this        that the information in the schedules filed with the petition is incorrect.
   page.

                                                 ✘ /s/ J. Kevin Benjamin, Esq.                                          Date 08/29/2022
                                                      Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                     J. Kevin Benjamin, Esq.
                                                     Printed name

                                                     Benjamin Legal Services
                                                     Firm name

                                                     1016 W. Jackson Blvd
                                                     Number      Street



                                                     Chicago                                                          IL      60607-2914
                                                     City                                                             State   ZIP Code



                                                     Contact phone (312) 853-3100                       Email address jkb@benjaminlaw.com


                                                     6202321                                                          IL
                                                     Bar number                                                       State




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 8
                           Case 22-09817                 Doc 1        Filed 08/29/22 Entered 08/29/22 15:16:36                               Desc Main
                                                                        Document Page 9 of 24
 Fill in this information to identify your case:

  Debtor 1                       Christy                A.                Thomas
                                 First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                            Northern District of Illinois

  Case number                                                                                                                        ❑      Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 104
For I ndividua l Cha pt e r 1 1 Ca se s: List of Cre dit ors Who H a ve the 2 0
La rge st U nse c ure d Cla im s Aga inst You a nd Are N ot I nside rs                                                                                            12/15
If you are a individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or Chapter 13, do not fill
out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners; relatives of any general partners;
partnerships of which you are a general partner; corporations of which you are an officer, director, person in control, or owner of 20 percent or more of their
voting securities; and any managing agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Also, do not include claims by
secured creditors unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured
claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.


 Pa rt 1 : List t he 2 0 U nse c ure d Cla im s in Orde r from La rge st t o Sm a lle st . Do N ot I nc lude Cla im s by I nside rs.

 1                                                              What is the nature of the claim?                                                          $366,941.35

     Chase
                                                                ✔ Contingent
                                                                As of the date you file, the claim is: Check all that apply.
     Creditor's Name
                                                                ❑
     700 Kansas Lane LA4-6633                                   ✔ Unliquidated
                                                                ❑
     Number             Street                                  ✔ Disputed
                                                                ❑
     Monroe, LA 71203                                           ❑ None of the above apply
     City                               State       Zip Code


                                                                ❑ No
                                                                Does the creditor have a lien on your property? Secured
     Contact
                                                                ✔ Yes.
                                                                ❑
                                                                Total claim (secured and unsecured):                   $901,941.35
     Contact phone                                              Value of security:                            –        $535,000.00
                                                                Unsecured Claim:                                       $366,941.35


Official Form 104                             For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         page 1
                        Case 22-09817               Doc 1         Filed 08/29/22 Entered 08/29/22 15:16:36                                    Desc Main
                                                                   Document Page 10 of 24
 Debtor 1               Christy               A.                     Thomas                                          Case number (if known)
                        First Name            Middle Name            Last Name
                                                                                                                                                 Unsecured claim

 2                                                          What is the nature of the claim?                                                            $63,660.66

     CoreLogic Tax Services, LLC                            As of the date you file, the claim is: Check all that apply.
     Creditor's Name
                                                            ❑ Contingent
     2500 Westfield Dr                                      ❑ Unliquidated
     Number          Street
                                                            ✔ Disputed
                                                            ❑
     Elgin, IL 60124-7700                                   ❑ None of the above apply
     City                            State     Zip Code


                                                            ❑ No
                                                            Does the creditor have a lien on your property? Secured
     Contact
                                                            ✔ Yes.
                                                            ❑
                                                            Total claim (secured and unsecured):                    $63,660.66
     Contact phone                                          Value of security:                            –              $0.00
                                                            Unsecured Claim:                                        $63,660.66

 3                                                          What is the nature of the claim?                                                             $9,297.40

     CoreLogic Tax Services, LLC
                                                            ✔ Contingent
                                                            As of the date you file, the claim is: Check all that apply.
     Creditor's Name
                                                            ❑
     2500 Westfield Dr                                      ❑ Unliquidated
     Number          Street
                                                            ✔ Disputed
                                                            ❑
     Elgin, IL 60124-7700                                   ❑ None of the above apply
     City                            State     Zip Code


                                                            ❑ No
                                                            Does the creditor have a lien on your property? Secured
     Contact
                                                            ✔ Yes.
                                                            ❑
                                                            Total claim (secured and unsecured):                      $9,297.40
     Contact phone                                          Value of security:                            –               $0.00
                                                            Unsecured Claim:                                          $9,297.40

 4                                                          What is the nature of the claim?                  CreditCard                                 $9,266.00

     DISCOVER BANK                                          As of the date you file, the claim is: Check all that apply.
     Creditor's Name
                                                            ❑ Contingent
     PO BOX 30939                                           ❑ Unliquidated
     Number          Street
                                                            ❑ Disputed
     SALT LAKE CITY, UT 84130                               ✔ None of the above apply
                                                            ❑
     City                            State     Zip Code

                                                            ✔ No
                                                            ❑
                                                            Does the creditor have a lien on your property? Unsecured

     Contact
                                                            ❑ Yes.
                                                            Total claim (secured and unsecured):
     Contact phone                                          Value of security:                            –
                                                            Unsecured Claim:




Official Form 104                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          page 2
                        Case 22-09817               Doc 1         Filed 08/29/22 Entered 08/29/22 15:16:36                                    Desc Main
                                                                   Document Page 11 of 24
 Debtor 1               Christy               A.                     Thomas                                          Case number (if known)
                        First Name            Middle Name            Last Name
                                                                                                                                                 Unsecured claim

 5                                                          What is the nature of the claim?                  Student loans                              $3,642.20

     NELNET                                                 As of the date you file, the claim is: Check all that apply.
     Creditor's Name
                                                            ❑ Contingent
     13907 S. MINUTEMAN DR. SUITE250                        ❑ Unliquidated
     Number          Street
                                                            ❑ Disputed
     DRAPER, UT 84020                                       ✔ None of the above apply
                                                            ❑
     City                            State     Zip Code

                                                            ✔ No
                                                            ❑
                                                            Does the creditor have a lien on your property? Unsecured

     Contact
                                                            ❑ Yes.
                                                            Total claim (secured and unsecured):
     Contact phone                                          Value of security:                            –
                                                            Unsecured Claim:


 6                                                          What is the nature of the claim?                  Student loans                              $3,642.00

     DEPT OF EDUCATION/NELN                                 As of the date you file, the claim is: Check all that apply.
     Creditor's Name
                                                            ❑ Contingent
     121 S 13TH ST                                          ❑ Unliquidated
     Number          Street
                                                            ❑ Disputed
     LINCOLN, NE 68508                                      ✔ None of the above apply
                                                            ❑
     City                            State     Zip Code

                                                            ✔ No
                                                            ❑
                                                            Does the creditor have a lien on your property? Unsecured

     Contact
                                                            ❑ Yes.
                                                            Total claim (secured and unsecured):
     Contact phone                                          Value of security:                            –
                                                            Unsecured Claim:


 7                                                          What is the nature of the claim?                   CreditCard                                $1,517.00

     CAPITAL ONE BANK USA                                   As of the date you file, the claim is: Check all that apply.
     Creditor's Name
                                                            ❑ Contingent
     PO BOX 31293                                           ❑ Unliquidated
     Number          Street
                                                            ❑ Disputed
     SALT LAKE CITY, UT 84131                               ✔ None of the above apply
                                                            ❑
     City                            State     Zip Code

                                                            ✔ No
                                                            ❑
                                                            Does the creditor have a lien on your property? Unsecured

     Contact
                                                            ❑ Yes.
                                                            Total claim (secured and unsecured):
     Contact phone                                          Value of security:                            –
                                                            Unsecured Claim:




Official Form 104                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          page 3
                        Case 22-09817               Doc 1         Filed 08/29/22 Entered 08/29/22 15:16:36                                    Desc Main
                                                                   Document Page 12 of 24
 Debtor 1               Christy               A.                     Thomas                                          Case number (if known)
                        First Name            Middle Name            Last Name
                                                                                                                                                 Unsecured claim

 8                                                          What is the nature of the claim?                  credit card                                 $567.26

     CAPITAL ONE                                            As of the date you file, the claim is: Check all that apply.
     Creditor's Name
                                                            ❑ Contingent
     PO BOX 6492                                            ❑ Unliquidated
     Number          Street
                                                            ❑ Disputed
     CAROL STREAM, IL 60197-6492                            ✔ None of the above apply
                                                            ❑
     City                            State     Zip Code

                                                            ✔ No
                                                            ❑
                                                            Does the creditor have a lien on your property? Unsecured

     Contact
                                                            ❑ Yes.
                                                            Total claim (secured and unsecured):
     Contact phone                                          Value of security:                            –
                                                            Unsecured Claim:


 9                                                          What is the nature of the claim?                  credit card                                 $524.24

     CAPITAL ONE                                            As of the date you file, the claim is: Check all that apply.
     Creditor's Name
                                                            ❑ Contingent
     PO BOX 6492                                            ❑ Unliquidated
     Number          Street
                                                            ❑ Disputed
     CAROL STREAM, IL 60197-6492                            ✔ None of the above apply
                                                            ❑
     City                            State     Zip Code

                                                            ✔ No
                                                            ❑
                                                            Does the creditor have a lien on your property? Unsecured

     Contact
                                                            ❑ Yes.
                                                            Total claim (secured and unsecured):
     Contact phone                                          Value of security:                            –
                                                            Unsecured Claim:


 10                                                         What is the nature of the claim?         FactoringCompanyAccount                              $524.00

     LVNV FUNDING LLC                                       As of the date you file, the claim is: Check all that apply.
     Creditor's Name
                                                            ❑ Contingent
     PO BOX 1269                                            ❑ Unliquidated
     Number          Street                                 ✔ Disputed
                                                            ❑
     GREENVILLE, SC 29602                                   ❑ None of the above apply
     City                            State     Zip Code

                                                            ✔ No
                                                            ❑
                                                            Does the creditor have a lien on your property? Unsecured

     Contact
                                                            ❑ Yes.
                                                            Total claim (secured and unsecured):
     Contact phone                                          Value of security:                            –
                                                            Unsecured Claim:




Official Form 104                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          page 4
                       Case 22-09817               Doc 1         Filed 08/29/22 Entered 08/29/22 15:16:36                                    Desc Main
                                                                  Document Page 13 of 24
 Debtor 1              Christy               A.                     Thomas                                          Case number (if known)
                       First Name            Middle Name            Last Name
                                                                                                                                                Unsecured claim

 11                                                        What is the nature of the claim?         FactoringCompanyAccount                              $458.00

   LVNV FUNDING LLC                                        As of the date you file, the claim is: Check all that apply.
   Creditor's Name
                                                           ❑ Contingent
   PO BOX 1269                                             ❑ Unliquidated
   Number           Street                                 ✔ Disputed
                                                           ❑
   GREENVILLE, SC 29602                                    ❑ None of the above apply
   City                             State     Zip Code

                                                           ✔ No
                                                           ❑
                                                           Does the creditor have a lien on your property? Unsecured

   Contact
                                                           ❑ Yes.
                                                           Total claim (secured and unsecured):
   Contact phone                                           Value of security:                            –
                                                           Unsecured Claim:


 12                                                        What is the nature of the claim?         FlexibleSpendingCreditCard                            $88.00

   BARCLAYS BANK DELAWARE                                  As of the date you file, the claim is: Check all that apply.
   Creditor's Name
                                                           ❑ Contingent
   PO BOX 8803                                             ❑ Unliquidated
   Number           Street
                                                           ❑ Disputed
   WILMINGTON, DE 19899                                    ✔ None of the above apply
                                                           ❑
   City                             State     Zip Code

                                                           ✔ No
                                                           ❑
                                                           Does the creditor have a lien on your property? Unsecured

   Contact
                                                           ❑ Yes.
                                                           Total claim (secured and unsecured):
   Contact phone                                           Value of security:                            –
                                                           Unsecured Claim:


 13                                                        What is the nature of the claim?

                                                           As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ❑ Contingent
                                                           ❑ Unliquidated
   Number           Street                                 ❑ Disputed
                                                           ❑ None of the above apply

                                                           ❑ No
                                                           Does the creditor have a lien on your property?
   City                             State     Zip Code

                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
   Contact phone
                                                           Unsecured Claim:




Official Form 104                       For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          page 5
                       Case 22-09817               Doc 1         Filed 08/29/22 Entered 08/29/22 15:16:36                                    Desc Main
                                                                  Document Page 14 of 24
 Debtor 1              Christy               A.                     Thomas                                          Case number (if known)
                       First Name            Middle Name            Last Name
                                                                                                                                                Unsecured claim

 14                                                        What is the nature of the claim?

                                                           As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ❑ Contingent
                                                           ❑ Unliquidated
   Number           Street                                 ❑ Disputed
                                                           ❑ None of the above apply

                                                           ❑ No
                                                           Does the creditor have a lien on your property?
   City                             State     Zip Code

                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
   Contact phone
                                                           Unsecured Claim:


 15                                                        What is the nature of the claim?

                                                           As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ❑ Contingent
                                                           ❑ Unliquidated
   Number           Street                                 ❑ Disputed
                                                           ❑ None of the above apply

                                                           ❑ No
                                                           Does the creditor have a lien on your property?
   City                             State     Zip Code

                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
   Contact phone
                                                           Unsecured Claim:


 16                                                        What is the nature of the claim?

                                                           As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ❑ Contingent
                                                           ❑ Unliquidated
   Number           Street                                 ❑ Disputed
                                                           ❑ None of the above apply

                                                           ❑ No
                                                           Does the creditor have a lien on your property?
   City                             State     Zip Code

                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
   Contact phone
                                                           Unsecured Claim:




Official Form 104                       For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          page 6
                       Case 22-09817               Doc 1         Filed 08/29/22 Entered 08/29/22 15:16:36                                    Desc Main
                                                                  Document Page 15 of 24
 Debtor 1              Christy               A.                     Thomas                                          Case number (if known)
                       First Name            Middle Name            Last Name
                                                                                                                                                Unsecured claim

 17                                                        What is the nature of the claim?

                                                           As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ❑ Contingent
                                                           ❑ Unliquidated
   Number           Street                                 ❑ Disputed
                                                           ❑ None of the above apply

                                                           ❑ No
                                                           Does the creditor have a lien on your property?
   City                             State     Zip Code

                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
   Contact phone
                                                           Unsecured Claim:


 18                                                        What is the nature of the claim?

                                                           As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ❑ Contingent
                                                           ❑ Unliquidated
   Number           Street                                 ❑ Disputed
                                                           ❑ None of the above apply

                                                           ❑ No
                                                           Does the creditor have a lien on your property?
   City                             State     Zip Code

                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
   Contact phone
                                                           Unsecured Claim:


 19                                                        What is the nature of the claim?

                                                           As of the date you file, the claim is: Check all that apply.
   Creditor's Name                                         ❑ Contingent
                                                           ❑ Unliquidated
   Number           Street                                 ❑ Disputed
                                                           ❑ None of the above apply

                                                           ❑ No
                                                           Does the creditor have a lien on your property?
   City                             State     Zip Code

                                                           ❑ Yes.
   Contact                                                 Total claim (secured and unsecured):
                                                           Value of security:                            –
   Contact phone
                                                           Unsecured Claim:




Official Form 104                       For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          page 7
                     Case 22-09817                 Doc 1        Filed 08/29/22 Entered 08/29/22 15:16:36                                    Desc Main
                                                                 Document Page 16 of 24
Debtor 1             Christy                A.                     Thomas                                          Case number (if known)
                     First Name             Middle Name            Last Name
                                                                                                                                               Unsecured claim

20                                                        What is the nature of the claim?

                                                          As of the date you file, the claim is: Check all that apply.
  Creditor's Name                                         ❑ Contingent
                                                          ❑ Unliquidated
  Number          Street                                  ❑ Disputed
                                                          ❑ None of the above apply

                                                          ❑ No
                                                          Does the creditor have a lien on your property?
  City                             State      Zip Code

                                                          ❑ Yes.
  Contact                                                 Total claim (secured and unsecured):
                                                          Value of security:                            –
  Contact phone
                                                          Unsecured Claim:


Pa rt 2 : Sign Be low



     Under penalty of perjury, I declare that the information provided in this form is true and correct.



 ✘                         /s/ Christy A. Thomas                     ✘
       Signature of Debtor 1                                              Signature of Debtor 2


       Date 08/29/2022                                                    Date
             MM/ DD/ YYYY                                                        MM/ DD/ YYYY
Case 22-09817   Doc 1   Filed 08/29/22 Entered 08/29/22 15:16:36   Desc Main
                         Document Page 17 of 24

                            BARCLAYS BAN K D ELAW ARE
                            PO BOX 8803
                            WI LMI NGTON, DE 19899




                            CAPI TAL ON E
                            PO BOX 6492
                            CAROL STREAM, I L 60197- 6492




                            CAPI TAL ON E BAN K USA
                            PO BOX 31293
                            SALT LAKE CI TY, UT 84131




                            Ch a se
                            700 Kansas Lane LA4- 6633
                            Monroe, LA 71203




                            Cor e Logic Ta x Se r vice s, LLC
                            2500 West field Dr
                            Elgin, I L 60124- 7700




                            D EPT OF ED UCATI ON / N ELN
                            121 S 13TH ST
                            LI NCOLN, NE 68508




                            D I SCOVER BAN K
                            PO BOX 30939
                            SALT LAKE CI TY, UT 84130




                            I llin ois D e pa r t m e n t of
                            Re ve n u e
                            Bankrupt cy Sect ion
                            Po Box 64338
                            Chicago, I L 60664- 0291
Case 22-09817   Doc 1   Filed 08/29/22 Entered 08/29/22 15:16:36        Desc Main
                         Document Page 18 of 24

                            I n t e r n a l Re ve n u e Se r vice
                            Cent ralized I nsolvency Operat ion
                            Po Box 7346
                            Philadelphia, PA 19101- 7346



                            La k e Cou n t y Tr e a su r e r s Office
                            18 N Count y St reet
                            Waukegan, I L 60085




                            LVN V FUN D I N G LLC
                            PO BOX 1269
                            GREENVI LLE, SC 29602




                            M cCa lla Ra ym e r Le ibe r t
                            Pie r ce , LLC
                            At t ent ion: Bankrupt cy Depart m ent
                            1 N Dearborn St St e 1200
                            Chicago, I L 60602- 4337


                            N ELN ET
                            13907 S. MI NUTEMAN DR. SUI TE250
                            DRAPER, UT 84020




                            N ON E
                            13907 S. MI NUTEMAN DR.
                            DRAPER, UT 84020




                            N ON E
                            PO BOX 6492
                            CAROL STREAM, I L 60197




                            N ON E
                            PO BOX 6492
                            CAROL STREAM, I L 60197- 6492
Case 22-09817   Doc 1   Filed 08/29/22 Entered 08/29/22 15:16:36   Desc Main
                         Document Page 19 of 24

                            Sa n t a n de r Con su m e r USA
                            PO Box 660633
                            Dallas, TX 75266- 0633




                            Sh e r iff of La k e Cou n t y
                            Judicial Sales Division
                            25 S Mart in Lut her King Jr Ave
                            Waukegan, I L 60085- 5518



                            D e a n Th om a s
                            61 George St reet
                            Grayslake, I L 60030
         Case 22-09817               Doc 1       Filed 08/29/22 Entered 08/29/22 15:16:36                               Desc Main
                                                  Document Page 20 of 24
                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF ILLINOIS
                                                       EASTERN DIVISION (CHICAGO)

IN RE: Thomas, Christy A.                                                             CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      08/29/2022            Signature
                                                                        Christy A. Thomas, Debtor
                    Case 22-09817               Doc 1        Filed 08/29/22 Entered 08/29/22 15:16:36                                Desc Main
                                                              Document Page 21 of 24

                Notice Required by 11 U.S.C. § 342(b) for
                Individuals Filing for Bankruptcy (Form 2010)


                  This notice is for you if:                                          Chapter 7: Liquidation

                         You are an individual filing for                                               $245    filing fee
                         bankruptcy, and
                                                                                                          $78   administrative fee
                                                                                                 +        $15   trustee surcharge
                         Your debts are primarily consumer debts.
                         Consumer debts are defined in 11 U.S.C. §                                      $338    total fee
                         101(8) as “incurred by an individual
                         primarily for a personal, family, or                        Chapter 7 is for individuals who have financial
                         household purpose.”                                         difficulty preventing them from paying their
                                                                                     debts and who are willing to allow their non-
                                                                                     exempt property to be used to pay their
                                                                                     creditors. The primary purpose of filing under
                                                                                     chapter 7 is to have your debts discharged.
                The types of bankruptcy that are                                     The bankruptcy discharge relieves you after
                available to individuals                                             bankruptcy from having to pay many of your
                                                                                     pre-bankruptcy debts. Exceptions exist for
                Individuals who meet the qualifications may file                     particular debts, and liens on property may
                under one of four different chapters of the                          still be enforced after discharge. For example,
                Bankruptcy Code:                                                     a creditor may have the right to foreclose a
                                                                                     home mortgage or repossess an automobile.
                        Chapter 7 — Liquidation
                                                                                     However, if the court finds that you have committed
                        Chapter 11— Reorganization                                   certain kinds of improper conduct described in the
                                                                                     Bankruptcy Code, the court may deny your
                        Chapter 12— Voluntary repayment plan                         discharge.
                                    for family farmers or
                                        fishermen                                    You should know that even if you file chapter 7 and
                                                                                     you receive a discharge, some debts are not
                        Chapter 13— Voluntary repayment plan                         discharged under the law. Therefore, you may still
                                    for individuals with regular                     be responsible to pay:
                                        income
                                                                                             most taxes;
                You should have an attorney review your                                      most student loans;
                decision to file for bankruptcy and the choice of                            most domestic support and property
                chapter.                                                                     settlement obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 1
                    Case 22-09817               Doc 1        Filed 08/29/22 Entered 08/29/22 15:16:36                                Desc Main
                                                              Document Page 22 of 24

                                                                                     your income is more than the median income for
                        most fines, penalties, forfeitures, and                      your state of residence and family size, depending
                        criminal restitution obligations; and
                                                                                     on the results of the Means Test, the U.S. trustee,
                        certain debts that are not listed in your                    bankruptcy administrator, or creditors can file a
                        bankruptcy papers.
                                                                                     motion to dismiss your case under § 707(b) of the
                You may also be required to pay debts arising                        Bankruptcy Code. If a motion is filed, the court will
                from:                                                                decide if your case should be dismissed. To avoid
                                                                                     dismissal, you may choose to proceed under
                        fraud or theft;
                                                                                     another chapter of the Bankruptcy Code.
                        fraud or defalcation while acting in breach
                        of fiduciary capacity;
                                                                                     If you are an individual filing for chapter 7
                        intentional injuries that you inflicted; and
                                                                                     bankruptcy, the trustee may sell your property to
                        death or personal injury caused by
                                                                                     pay your debts, subject to your right to exempt the
                        operating a motor vehicle, vessel, or
                                                                                     property or a portion of the proceeds from the sale
                        aircraft while intoxicated from alcohol or
                                                                                     of the property. The property, and the proceeds
                        drugs.
                                                                                     from property that your bankruptcy trustee sells or
                                                                                     liquidates that you are entitled to, is called exempt
                If your debts are primarily consumer debts, the
                                                                                     property. Exemptions may enable you to keep your
                court can dismiss your chapter 7 case if it finds that
                                                                                     home, a car, clothing, and household items or to
                you have enough income to repay creditors a
                                                                                     receive some of the proceeds if the property is
                certain amount. You must file Chapter 7 Statement
                                                                                     sold.
                of Your Current Monthly Income (Official Form
                122A–1) if you are an individual filing for
                                                                                     Exemptions are not automatic. To exempt property,
                bankruptcy under chapter 7. This form will
                                                                                     you must list it on Schedule C: The Property You
                determine your current monthly income and
                                                                                     Claim as Exempt (Official Form 106C). If you do
                compare whether your income is more than the
                                                                                     not list the property, the trustee may sell it and pay
                median income that applies in your state.
                                                                                     all of the proceeds to your creditors.

                If your income is not above the median for your
                state, you will not have to complete the other
                                                                                      Chapter 11: Reorganization
                chapter 7 form, the Chapter 7 Means Test
                Calculation (Official Form 122A–2).
                                                                                                         $1,167    filing fee
                                                                                                 +         $571    administrative fee
                If your income is above the median for your state,
                you must file a second form —theChapter 7                                                $1,738     total fee
                Means Test Calculation (Official Form 122A–2).
                The calculations on the form— sometimes called                       Chapter 11 is often used for reorganizing a
                the Means Test —deduct from your income living                       business, but is also available to individuals. The
                expenses and payments on certain debts to                            provisions of chapter 11 are too complicated to
                determine any amount available to pay unsecured                      summarize briefly.
                creditors. If




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2
                    Case 22-09817               Doc 1        Filed 08/29/22 Entered 08/29/22 15:16:36                               Desc Main
                                                              Document Page 23 of 24

                  Read These Important Warnings

                      Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                      your property, you should hire an attorney and carefully consider all of your options before you file.
                      Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                      and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
                      properly and protect you, your family, your home, and your possessions.

                      Although the law allows you to represent yourself in bankruptcy court, you should understand that
                      many people find it difficult to represent themselves successfully. The rules are technical, and a
                      mistake or inaction may harm you. If you file without an attorney, you are still responsible for
                      knowing and following all of the legal requirements.

                      You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                      necessary documents.

                      Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                      bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                      fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
                      to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                 Chapter 12: Repayment plan for family                               Under chapter 13, you must file with the court a
                             farmers or fishermen                                    plan to repay your creditors all or part of the money
                                                                                     that you owe them, usually using your future
                                     $200    filing fee                              earnings. If the court approves your plan, the court
                                                                                     will allow you to repay your debts, as adjusted by
                            +         $78    administrative fee
                                                                                     the plan, within 3 years or 5 years, depending on
                                     $278    total fee                               your income and other factors.

                Similar to chapter 13, chapter 12 permits family                     After you make all the payments under your plan,
                farmers and fishermen to repay their debts over a                    many of your debts are discharged. The debts that
                period of time using future earnings and to                          are not discharged and that you may still be
                discharge some debts that are not paid.                              responsible to pay include:

                                                                                             domestic support obligations,
                 Chapter 13: Repayment plan for                                              most student loans,
                             individuals with regular                                        certain taxes,
                             income                                                          debts for fraud or theft,
                                                                                             debts for fraud or defalcation while acting
                                     $235    filing fee                                      in a fiduciary capacity,
                            +         $78    administrative fee                              most criminal fines and restitution
                                                                                             obligations,
                                     $313    total fee
                                                                                             certain debts that are not listed in your
                                                                                             bankruptcy papers,
                Chapter 13 is for individuals who have regular
                                                                                             certain debts for acts that caused death or
                income and would like to pay all or part of their
                                                                                             personal injury, and
                debts in installments over a period of time and to
                                                                                             certain long-term secured debts
                discharge some debts that are not paid. You are
                eligible for chapter 13 only if your debts are not
                more than certain dollar amounts set forth in 11
                U.S.C. § 109.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 3
                    Case 22-09817                 Doc 1      Filed 08/29/22 Entered 08/29/22 15:16:36                              Desc Main
                                                              Document Page 24 of 24




                  Warning: File Your Forms on Time                                         A married couple may file a bankruptcy case
                                                                                           together—called ajoint case. If you file a joint
                                                                                           case and each spouse lists the same mailing
                  Section 521(a)(1) of the Bankruptcy Code
                                                                                           address on the bankruptcy petition, the
                  requires that you promptly file detailed
                                                                                           bankruptcy court generally will mail you and
                  information about your creditors, assets,
                                                                                           your spouse one copy of each notice, unless
                  liabilities, income, expenses and general
                                                                                           you file a statement with the court asking that
                  financial condition. The court may dismiss your
                                                                                           each spouse receive separate copies.
                  bankruptcy case if you do not file this
                  information within the deadlines set by the
                  Bankruptcy Code, the Bankruptcy Rules, and                               Understand which services you
                  the local rules of the court.                                            could receive from credit
                                                                                           counseling agencies
                  For more information about the documents and
                  their deadlines, go to:                                                  The law generally requires that you receive a
                  http://www.uscourts.gov/bkforms                                          credit counseling briefing from an approved
                  /bankruptcy_form                                                         credit counseling agency. 11 U.S.C. § 109(h).
                  s.html#procedure.                                                        If you are filing a joint case, both spouses
                                                                                           must receive the briefing. With limited
                                                                                           exceptions, you must receive it within the 180
                Bankruptcy crimes have serious
                                                                                           days before you file your bankruptcy petition.
                consequences
                                                                                           This briefing is usually conducted by
                        If you knowingly and fraudulently conceal                          telephone or on the Internet.
                        assets or make a false oath or statement
                        under penalty of perjury—either orally or                          In addition, after filing a bankruptcy case, you
                        in writing—in connection with a                                    generally must complete a financial
                        bankruptcy case, you may be fined,                                 management instructional course before you
                        imprisoned, or both.                                               can receive a discharge. If you are filing a
                        All information you supply in connection                           joint case, both spouses must complete the
                        with a bankruptcy case is subject to                               course.
                        examination by the Attorney General acting
                        through the Office of the U.S. Trustee, the                        You can obtain the list of agencies approved
                        Office of the U.S. Attorney, and other                             to provide both the briefing and the
                        offices and employees of the U.S.                                  instructional course from:
                        Department of Justice.                                             http://justice.gov/ust/eo/hapcpa
                                                                                           /ccde/cc_approved.html.
                Make sure the court has your
                mailing address                                                            In Alabama and North Carolina, go to:
                                                                                           http://www.uscourts.gov/FederalCourts
                The bankruptcy court sends notices to the mailing                          /Bankruptcy/
                address you list on Voluntary Petition for                                 BankruptcyResources/ApprovedCredit
                Individuals Filing for Bankruptcy(Official Form 101).                      AndDebtCounselors.aspx.
                To ensure that you receive information about your
                case, Bankruptcy Rule 4002 requires that you                               If you do not have access to a computer, the
                notify the court of any changes in your address.                           clerk of the bankruptcy court may be able to
                                                                                           help you obtain the list.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 4
